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FORM 9A. Notice of Related Case Information                                       Form 9A (p. 1)
                                                                                    March 2023



                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                     NOTICE OF RELATED CASE INFORMATION

            Case Number 2023-1173, 2023-1179, 2023-1180, 2023-1191
    Short Case Caption KOSS Corp. v. Bose Corp.
   Filing Party/Entity Bose Corporation, Cross-Appellant


  Instructions: Do not duplicate information. The notice must only be filed at the
  time of filing the first Certificate of Interest or, subsequently, if information
  changes during the pendency of the appeal. See Fed. Cir. R. 47.5(b). Attach
  additional pages as needed. This notice must not be included in a motion,
  petition, related response, or brief; please only include the Certificate of Interest
  (Form 9) in those documents.

1. Related or prior cases. Provide the case title, case number, and originating
   tribunal for each case. Fed. Cir. R. 47.5(b)(1).

  The following cases in which U.S. Patent No. 10,469,934 has been asserted may
  directly affect or be directly affected by this Court's decision in this appeal:
  * Koss Corp. v. Bose Corp., 1:20-cv-12193-RGS (D. Mass.);
  * Koss Corp. v. Plantronics, Inc. et. al., 4:21-cv-03854-JST (N.D. Cal.);
  * Koss Corp. v. Skullcandy, Inc., 2:21-cv-00203-DDB-JCB (D. Utah).
  The following cases in which U.S. Patent No. 10,206,025 has been asserted may
  directly affect or be directly affected by this Court’s decision in this appeal:
  * Koss Corp. v. Bose Corp., 1:20-cv-12193-RGS (D. Mass.);
  * Koss Corp. v. Plantronics, Inc. et. al., 4:21-cv-03854-JST (N.D. Cal.);
  * Koss Corp. v. PEAG, LLC, 3:21-cv-01177-CAB-JLB (S.D. Cal.);
  * Koss Corp. v. Skullcandy, Inc., 2:21-cv-00203-DDB-JCB (D. Utah).
  The following cases pending in this Court have been designated as companion cases:
  * Koss Corp. v. Vidal, Case No. 2022-2091 (Fed. Cir.);
  * Koss Corp. v. Vidal, Case No. 2022-2115 (Fed. Cir.);
  * Koss Corp. v. Bose Corp., Case No. 2022-2090 (Fed. Cir.).




        Additional pages attached
               Case: 23-1173         Document: 17     Page: 2   Filed: 03/16/2023




FORM 9A. Notice of Related Case Information                                         Form 9A (p. 2)
                                                                                      March 2023


2. Names of all parties involved in the cases listed above. Do not duplicate
   the names of parties. Do not relist the case information. Fed. Cir. R.
   47.5(b)(2)(A).
Koss, Corporation, Bose Corporation, Apple Inc., Plantronics, Inc., Polycom LLC
f/k/a Polycom, Inc., Skullcandy, Inc., PEAG, LLC, U.S. Patent and Trademark Office




        Additional pages attached


3. Names of all law firms, partners, and associates in the cases listed above.
   Do not duplicate the names of law firms, partners, and associates. Do not relist
   case information and party names. Fed. Cir. R. 47.5(b)(2)(B).

     K&L Gates (Benjamin E. Weed, Brandon R. Dillman, Darlene F. Ghavimi,
     Erik J. Halverson, Gina A. Johnson, John C. Blessington, Melissa M. Haulcomb,
     Peter E. Soskin, Amanda C. Maxfield, Jim A. Shimota, Philip A. Kunz,
     Christopher M. Verdini, Lauren K. Shuttleworth Murray, Mark G. Knedeisen,
     Michelle Weaver, Ragae M. Ghabrial)
     Wolf Greenfield & Sacks, P.C. (Daniel M. Huttle, Michael N. Rader, Nathan R. Speed,
     Greg S. Nieberg)
     Winston & Strawn (Eimeric Reig-Plessis, James C. Lin, Katherine A. Vidal,
     Katrina Eash, Kelly C Hunsaker, Samantha M Lerner)




 ✔       Additional pages attached

I certify the following information and any attached sheets are accurate and complete
to the best of my knowledge.


Date: 03/16/2023                                           /s/ Michael N. Rader
                                              Signature:

                                              Name:        Michael N. Rader
           Case: 23-1173     Document: 17     Page: 3   Filed: 03/16/2023




3. Names of all law firms, partners, and associates in the cases listed above. Do not
duplicate the names of law firms, partners, and associates. Do not relist case
information and party names. Fed. Cir. R. 47.5(b)(2)(B). (continued)

   x   Ray Qunney & Nebeker P.C. (Samuel C. Straight)
   x   TraskBritt P.C. (James C. Watson, Jeffrey Gunn, W. James Wright)
   x   J. Lorenzo Law (Jayson M. Lorenzo, Ryan J. Altomare)
   x   U.S. Patent and Trademark Office (Farheena Yasmeen Rasheed, Michael S.
       Forman, Thomas W. Krause, Benjamin T. Hickman)
